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5
                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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9
     REBECCA GUZMAN,                      CR. NO. 2:11-0119-06 WBS
10
                   Petitioner,            ORDER
11
          v.
12
     UNITED STATES OF AMERICA,
13
                   Respondent.
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18               On November 7, 2016, defendant Rebecca Guzman filed a

19   motion to reduce sentence pursuant to 18 U.S.C. § 3582.           (Docket

20   No. 271.)   The United States shall file an opposition to

21   petitioner’s motion no later than December 13, 2016.          Petitioner

22   may then file a reply no later than January 4, 2017.          The court

23   will then take the motion under submission and will inform the

24   parties if oral argument or further proceedings are necessary.

25               IT IS SO ORDERED.

26   Dated:    November 10, 2016

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